833 F.2d 29
    Susan Esposito THORSTENN and Lloyd De Vos, Appellants,v.Geoffrey W. BARNARD, as Chairman of the Committee of BarExaminers of the Virgin Islands, et al.
    Nos. 87-3034, 87-3035.
    United States Court of Appeals,Third Circuit.
    Nov. 9, 1987.
    
      Before GIBBONS, Chief Judge, SEITZ, WEIS, HIGGINBOTHAM, SLOVITER, BECKER, STAPLETON, MANSMANN, GREENBERG, SCIRICA, HUTCHINSON and ROSENN, Circuit Judges.
      ORDER
      WEIS, Circuit Judge.
    
    
      1
      A majority of the active judges having voted for rehearing in banc in the above appeal, it is
    
    
      2
      ORDERED that the Clerk of this court vacate the panel's opinion and judgment entered September 30, 1987, [829 F.2d 463, withdrawn from bound volume], and list the above case for rehearing before the court in banc at the convenience of the court.
    
    